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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NATHANIEL WADDELL,                                Case No. 20-cv-01467-SI
                                   8                    Plaintiff,
                                                                                           JUDGMENT
                                   9             v.

                                  10     A. MINTON, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          This action is dismissed without prejudice because plaintiff failed to keep the court informed

                                  14   of his current address.

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                                  16          IT IS SO ORDERED AND ADJUDGED.

                                  17   Dated: October 20, 2020

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                                                                                       SUSAN ILLSTON
                                  19                                                   United States District Judge
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